             Case 1:21-cv-00124-TSC Document 22 Filed 11/08/21 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



    TAHIRIH JUSTICE CENTER, et al.,

    Plaintiffs,

    v.
                                                         Civil Action No. 1:21-cv-124-TSC
    ALEJANDRO MAYORKAS,1 et al.,

    Defendants.




                                  JOINT STATUS REPORT




1
  On February 2, 2021, Alejandro Mayorkas became the Secretary of Homeland Security.
Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, he is automatically substituted as
a party.
            Case 1:21-cv-00124-TSC Document 22 Filed 11/08/21 Page 2 of 4




                                                REPORT

          On May 9, 2021, the Court continued the stay entered in this case on February 9, 2021, and

ordered the parties to file a joint status report by August 9, 2021, and every 30 days thereafter. The

parties have met and conferred by email and agree that these proceedings should remain stayed at

this time, as long as the preliminary injunction entered in Pangea Legal Servs. v. U.S. Dep’t of

Homeland Sec., No. 3:20-cv-09253-JD (N.D. Cal. Jan. 8, 2021), and Immigration Equality v. U.S.

Dep’t of Homeland Sec., 3:20-cv-09258-JD (N.D. Cal. Jan. 8, 2021), remains in place. Both

Pangea Legal Servs. and Immigration Equality are administratively closed pending further order,

and a joint case management proposal is due January 31, 2022.

          The Departments are working on two Notices of Proposed Rulemaking that will address

several       of     the     topics        addressed   in     the     Global      Asylum        Rule:

https://www.reginfo.gov/public/do/eAgendaViewRule?pubId=202104&RIN=1125-AB13,                     and

https://www.reginfo.gov/public/do/eAgendaViewRule?pubId=202104&RIN=1125-AB14,                     and

have made progress on their review. Plaintiffs note that the stated time period for the Departments

to issue the first of these two Notices of Proposed Rulemaking pursuant to Section 4(c)(ii) of

Executive Order 14010 has elapsed without the issuance of proposed regulations. Based on the

Departments’ litigating positions in other cases, Plaintiffs also believe the Departments have

completed any and all review relevant to Counts 1-3 of the Complaint, which allege that the Rule

was issued by officials serving in violation of law. Plaintiffs do not intend for the litigation to be

stayed indefinitely. However, in light of the deadline in Executive Order 14010, the Departments

represent that they have been, and continue to, make completing their review a priority and will

release the first proposed rule above in the near future. The Departments seek, and Plaintiffs

consent to, a further stay at this time.
          Case 1:21-cv-00124-TSC Document 22 Filed 11/08/21 Page 3 of 4




       Per the Court’s May 9, 2021 Order, the parties will submit a status report within 30 days—

by December 8, 2021—updating the Court on the status of the Rule. This request is without

prejudice to either side requesting, prior to the filing of the 30-day status report, to have the case

recalendared.

Respectfully submitted,

By:      /s/ Gary DiBianco                            By:    /s/ Lindsay M. Vick

Gary DiBianco (D.C. Bar No. 458669)                   LINDSAY M. VICK
Kara Roseen (D.C. Bar No. 997229)                     Trial Attorney
Jennifer Gindin (D.C. Bar No. 1031874)                U.S. Department of Justice, Civil Division
1440 New York Avenue, NW                              P.O. Box 878, Ben Franklin Station
Washington, DC 20005                                  Washington, DC 20044
Phone: (202) 371-7000                                 Tel. (202) 532-4023
Gary.DiBianco@probonolaw.com                          Lindsay.Vick@usdoj.gov

Co-Counsel for Plaintiffs                             Counsel for Defendants



Elizabeth B. Wydra (D.C. Bar No. 483298)
Brianne J. Gorod (D.C. Bar No. 982075)
Brian R. Frazelle (D.C. Bar No. 1014116)
Constitutional Accountability Center
1200 18th Street NW
Suite 501
Washington, DC 20036
Phone: (202) 296-6889

Co-Counsel for Plaintiffs

Laurie Ball Cooper (D.C. Bar No. 1017998)
Ayuda, Inc.
6925 B Willow Street NW
Washington, DC 20012
(202) 349-0656
laurie.ballcooper@ayuda.com

Counsel for Plaintiff Ayuda, Inc.


Dated: November 8, 2021



                                                  2
             Case 1:21-cv-00124-TSC Document 22 Filed 11/08/21 Page 4 of 4




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    TAHIRIH JUSTICE CENTER, et al.,

    Plaintiffs,

    v.
                                                            Civil Action No. 1:21-cv-124-TSC
                                  2
    ALEJANDRO MAYORKAS, et al.,

    Defendants.




                                       [PROPOSED] ORDER

           Upon consideration of the parties’ joint status report, it is hereby ORDERED that this

case remain stayed to allow Defendants time to review the Rule at issue in this litigation and

engage in the rulemaking process. The parties shall submit a joint status report within 30 days of

the date of this order.

SO ORDERED.

Dated: ___________________                              __________________________
                                                        Hon. Tanya S. Chutkan
                                                        United States District Judge




2
  On February 2, 2021, Alejandro Mayorkas became the Secretary of Homeland Security.
Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, he is automatically substituted as
a party.
